Case 2:05-cV-02009-.]P|\/|-de Document 7 Filed 08/17/05 Page 1 of 3 Page|D 23

Fli£o BY __,+ ' D.c.
IN THE UNITED STATES DISTRICT CoURT '

WESTERN DIVISION OF` TENNESSEE - WESTERN DISTR!§'A`U_G [ 1 AH ||: 148

 

IHGMA‘S M. GGUUJ
wlLLlAM H. cARTER, CLEP§<. ns stated COUHI
0;;':1) 01 '; +tS
Piaimifr,
vs_ No. 05 2009 Mlv

JURY DEMANDED
LOWE’S HOME IMPROVEMENT '
WAREHOUSE OF CORDOVA and
LO\VI‘I’S HOMF.- CENTERS, INC.

Defendants.

 

STIPULATED CONSENT ORDER OF DISMISSAL
PURSUANT TO RULE 41 WITH PREJUI)ICE

 

Come now the parties, by and through their attorneys of record, and announce to the Court
that the matters and things in controversy have been compromised and settled and that this cause
might be dismissed, with prejudice

IT IS, THEREFORE, BY THE COURT, ORDERED, ADJUDGED AND DECREED

that the above-styled and numbered cause be, and the same hereby is, dismissed with prejudice, for

which let execution issue. 9 N( O`U

JUD E

ENTERED; A*-‘°\ )'_l, 2005

 

[|n 11 lie(i{l[;ke P l ii l se

with Ru\e 58 andlor 79(@) FF\CP on

Case 2:05-cV-02009-.]P|\/|-de Document 7 Filed 08/17/05 Page 2 of 3 Page|D 24

APPROVED:

QQ,;;__:D

DAVID A. SIEGEL (#l 1870)
5100 Poplar Ave., Suite 2500
Memphis TN 38137

Attomey for Plaintiff

SPICER, FLYNN & RUDSTROM, PLLC

MINTON P_ MAYER'(#l 81 1 1)
80 Monroe Avenue

Suite 500

Memphis, TN 38103

Attorney for Def`endant

.I:\data\M PM\}QZQ‘)\C`onsent ()rdcr ol` Dismissa| with Prejudice.doc

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 2:05-CV-02009 was distributed by faX, mail, or direct printing on
August 17, 2005 to the parties listed.

 

Minton Philip Mayer

SPICER FLYNN & RUDSTROM
80 Monroe Ave.

Ste. 500

Memphis7 TN 38103--246

Jimmy Moore

CIRCUIT COURT, 30TH .TUDICIAL DISTRICT
140 Adams Ave.

Rm. 224

Memphis7 TN 38103

David A. Siegel

NAHON SAHAROVICH & TROTZ, PLC
488 S. Mendenhall

Memphis7 TN 38117

Honorable J on McCalla
US DISTRICT COURT

